                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:11CR190

UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )
                                                      )               ORDER
DARRYL BROCK (6),                                     )
                                                      )
                       Defendant.                     )
                                                      )

        THIS MATTER is before the court on the government’s Motion to Correct Judgment in

which it moves the court to correct a error in the Judgment entered on November 13, 2012. The

motion correctly reflects that this court granted a Motion for Forfeiture of Property as to this

defendant on October 31, 2012, ordering defendant to pay a forfeiture money judgment for

criminal proceeds in the amount of $200,000. This forfeiture money judgment was inadvertently

left out of the Judgment and so the court will shortly enter an amended judgment that includes an

order of forfeiture for $200,000. The government’s Motion to Correct Judgment (#118) is

hereby GRANTED.

                                                  Signed: November 20, 2012




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